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       United States Court of Appeals
            for the Fifth Circuit
                           ___________

                            No. 21-60626
                           ___________

Alliance for Fair Board Recruitment; National Center
for Public Policy Research,

                                                               Petitioners,

                                versus

Securities and Exchange Commission,

                                                              Respondent.
              ______________________________

               Petition for Review from an Order of the
                 Securities & Exchange Commission
                         Agency No. 34-92590
              ______________________________

ORDER:
      IT IS ORDERED that Respondent’s unopposed motion to file a
corrected Rule 28(j) response letter is GRANTED.


                          LYLE W. CAYCE, CLERK
                          United States Court of Appeals
                               for the Fifth Circuit
                               /s/ Lyle W. Cayce

            ENTERED AT THE DIRECTION OF THE COURT
